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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                             §
                                                    §                          CASE NO. 22-30448
 DEEP ELLUM HOSTEL LLC,                             §
                                                    §                                    Chapter 11
         DEBTOR.                                    §

               DECLARATION OF COLLIN BALLARD, MANAGER
        IN SUPPORT OF CHAPTER 11 PETITION AND FIRST DAY MOTIONS

       I, Collin Ballard, hereby declare under penalty of perjury:

       1.      Along with Kent Roth, I am one of the Managers of Deep Ellum Hostel LLC

(“Debtor”), a limited liability company organized under the laws of Texas. I have been a Manager

since the company’s founding.

       2.      As Manager, I am responsible for overseeing the Debtor’s operations and financial

activities. As a result of my tenure with Debtor and my review of the Debtor’s books and records,

I am familiar with the Debtor’s business and financial condition. Except as otherwise noted, I have

personal knowledge of the matters set forth herein in the ordinary course of my responsibilities.

       3.      I am over the age of 18, and I am authorized to submit this declaration on behalf of

the Debtor. References to the Bankruptcy Code (as defined herein), the chapter 11 process, and

related legal matters are based on my understanding of such as explained to me by counsel. If

called upon to testify, I would testify competently to the facts set forth in this declaration.

       4.      On March 13, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under subchapter V of chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”), with the United States Bankruptcy Court for the Northern District of Texas (the “Court”),




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initiating this chapter 11 case (the “Case”). The Debtor filed motions and pleadings seeking various

types of “first day” relief (collectively, the “First Day Motions”).

                                          I. Background

A.     The Debtor’s Business

       5.       The Debtor is a hostel—the only hostel in Dallas—and has a popular onsite bar and

restaurant called Booty’s Street Food (“Booty’s”). The hostel opened in 2018 and is located at

2801 Elm Street, Dallas, Texas 75226 (the “Property”), which is in the heart of Deep Ellum and

conveniently located near I-30 and Central Expressway. The Deep Ellum neighborhood is known

for being the most eclectic, diverse neighborhood in Dallas that is walkable and surrounded by live

music venues, bars, restaurants, and artisan shops.

       6.       The Property is a historic building, over 100-years-old, that recently underwent a

complete renovation and offers a mix of private suites and dorm rooms. The rooms’ décor is

“modern industrial” with custom-made bunk beds and storage. The hostel can accommodate a total

of 72 guests.

       7.       Booty’s offers weekly entertainment, especially on Thursdays for burlesque bingo

and Sundays for drag brunches where multiple drag queens lip sync songs varying from Diana

Ross to Britney Spears while dancing throughout the restaurant and engaging with the patrons.

       8.       Importantly, Booty’s is known in the community for being an LGBTQIA+ allied

and inclusive business and is commonly featured on LGBTQIA+ social media platforms for its

welcoming and bustling social scene. Historically, the majority of the hostel’s guests are

international travelers who contribute unique and important perspectives to the Dallas community.

       9.       In addition to its fifteen employees, the hostel hires up to ten independent

performers and musicians for entertainment at Booty’s every week, including DJs, burlesque

dancers, drag queen performers, and karaoke hosts.


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           10.      The hostel has a 4-star out of a 5-star rating on TripAdvisor1, a 4.4 out of 5 rating

on Google2, and an 8.9 out of 10 “fabulous” rating on hotelworld.com3.

    A.      Impact of the COVID-19 Pandemic

           11.      The Debtor’s recent history has been greatly impacted by the uncertainty,

unexpected challenges, and ever-changing landscape resulting from the COVID-19 pandemic.

           12.      Specifically, international travel to the U.S. from other countries has significantly

decreased and in many cases was banned entirely beginning in spring 2020. Prior to the pandemic,

the majority of the hostel’s guests were from other countries where hostel stays are more common.

While the Debtor’s hostel occupancy has not yet fully recovered from the pandemic and associated

travel restrictions, Booty’s food and alcohol sales have improved significantly in 2022.

           13.      Despite a decline in hostel occupancy, Booty’s continues to do well with its food

and alcohol sales. Below is chart with Booty’s revenue since November 2020 showing an upward

trend to date indicative of the recovery in its industry.




1
   https://www.tripadvisor.com/Hotel_Review-g55711-d14053087-Reviews-Deep_Ellum_Hostel-Dallas_Texas.html
(last visited March 9, 2022).
2
    https://bit.ly/3w1HUV8 (last visited March 12, 2022).
3
 https://www.hostelworld.com/s?q=Dallas,%20USA&city=Dallas&country=USA&type=city&id=2183&from=202
2-03-23&to=2022-03-24&guests=2&page=1 (last visited March 9, 2022).



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       14.     Booty’s has thrived despite the challenges not only of operating a bar in a pandemic,

but also through difficult times in the Deep Ellum neighborhood, including police lockdowns of

the streets surrounding the Debtor’s location on prime Friday and Saturday nights for several

weeks in the fall of 2021. Coupled with a naturally slower period in the coldest winter months of

January and February, the upward trends in Booty’s revenue are all the more encouraging.

       15.     While Booty’s business depends more on the local Dallas market, the hostel

operations are deeply connected to international travel and associated travel restrictions. The recent

COVID-19 variant spikes, specifically Delta and Omicron, are directly correlated with the hostel’s

recent decreased occupancy, which is demonstrated in the below chart. The Delta variant was

discovered in the U.S. in about February 2021 and spiked through May 2021. The Omicron variant

was discovered in the U.S. in about November 2021 and spiked through January 2022. With travel

restrictions increasingly being rolled back, the Debtor anticipates that hostel operations will

recover to pre-pandemic levels.




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       16.     The hostel’s revenue began to rise after the Omicron spike ended and continues to

improve to date. However, the decrease in the Debtor’s revenue due to the COVID-19 spikes and

restrictions on operations created a liquidity crisis that caused the Debtor to fall behind on its rent

obligations.

       17.     The Debtor originally entered into a Retail Lease agreement on April 26, 2016 with

42 Deep Ellum, LP as the landlord. AP Deep Ellum, LLC subsequently became the successor of

42 Deep Ellum, LP (“Landlord”). The Debtor intends to use this bankruptcy case to accommodate

the Landlord’s rights and return its business to full health.

       18.     Since the pandemic-related financial issues began, the Debtor and the Landlord

have made efforts to amend the lease, abate rent, and otherwise work together to give the world

time to return to international travel. However, the Debtor and the Landlord have reached an

impasse in their negotiations to permit the Debtor to continue to occupy its current rental premises,

which is a critical component of its business.

       19.     To preserve the Debtor’s business and recover from pandemic-related liquidity

issues, I determined in my business judgment that it was in the Debtor’s best interest to file for

chapter 11 relief.

                                             Bankruptcy Case

       20.     I submit this declaration to assist the Court and parties in interest in understanding

the circumstances resulting in the commencement of this Case and in support of the Debtor’s

chapter 11 petition and First Day Motions.

       21.     On the Petition Date, the Debtor filed the following First Day Motions:




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             a. Emergency Motion for Entry of an Order (I) Authorizing the Debtor to Continue to

                Operate its Cash Management System and (II) Granting Related Relief (the “Cash

                Management Motion”) [ECF No. 4];

             b. Emergency Motion for Entry of an Order (I) Authorizing the Payment of Certain

                Prepetition and Postpetition Taxes and Fees and (II) Granting Related Relief (the

                “Tax Motion”) [ECF No. 5];

             c. Emergency Motion for Entry of an Order (I) Authorizing the Debtor to Pay

                Prepetition Wages, Salaries and Other Compensation and (II) Granting Related

                Relief (the “Wage Motion”) [ECF No. 6];

             d. Emergency Motion for Entry of an Order (I) Approving the Debtor’s Proposed

                Adequate Assurance of Payment for Future Utility Services (II) Prohibiting Utility

                Companies from Altering, Refusing, or Discontinuing Services (III) Approving the

                Debtor’s Proposed Procedures for Resolving Adequate Assurance Requests, and

                (IV) Granting Related Relief (the “Utilities Motion”) [ECF No. 7].

       22.      I am familiar with the content and substance contained in each First Day Motion

and believe that the relief sought in each motion (a) is necessary to enable the Debtor to effectuate

a reorganization plan, (b) constitutes a critical element in the Debtor achieving a successful

reorganization, and (c) best serves the Debtor’s estate and creditors’ interests. I have reviewed

each of the First Day Motions and the facts set forth therein are true and correct to the best of my

knowledge and are incorporated herein in their entirety by reference. If asked to testify as to the

facts supporting each of the First Day Motions, I would testify to the facts as set forth in such

motions.




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B.     The Debtor’s Creditors

       23.     The Debtor has two secured creditors, the Small Business Administration (“SBA”)

and Amplify Credit Union (“Amplify”), which administers the Debtor’s SBA loan. The SBA’s

and Amplify’s liens do not attach to the cash in the Debtor’s primary operating account, so the

Debtor operates in the ordinary course of business without the use of any cash collateral.

       24.     The Debtor believes the Landlord will assert an arrearage claim. The Debtor also

anticipates claims from several insiders who have loaned money to the Debtor, as well as some

claims from trade creditors. The purpose of this bankruptcy case is to maximize the value of the

Debtor’s business for payments to all of its creditors.

C.     Restructuring Path Forward.

       25.     At this time, the Debtor lacks sufficient current cash flow to pay these creditors.

The Debtor considered numerous options to create value and satisfy creditor claims, and ultimately

determined that a bankruptcy reorganization was the option that provided the most value to

creditors. The Debtor anticipates proposing a plan that provides for payments to its creditors over

time while continuing to operate to preserve the hostel business and benefit all parties in interest.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.


Dated: March 13, 2022                                 /s/ Collin Ballard
                                                      Collin Ballard
                                                      Manager
                                                      Deep Ellum Hostel LLC




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